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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


AMERICA FIRST LEGAL FOUNDATION,

                    Plaintiff,                      Case No.: 1:24-cv-03105-RJL

              v.

MERRICK GARLAND, Attorney General
of the United States, in his official capacity

and

DEPARTMENT OF JUSTICE,

                    Defendants.


PLAINTIFF’S MEMORANDUM OPPOSING DEFENDANTS’ MOTIONS TO
 DISMISS AND EXCUSE COMPLIANCE WITH LOCAL CIVIL RULE 7(n)




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                                 INTRODUCTION

      The government knows that certain groups and individuals — AJP

Foundation, Inc. a/k/a/ American Muslims for Palestine (“AMP”), National Students

for Justice in Palestine (“NSJP”), Osama Abuirshaid, Hatem Bazian, and WESPAC

Foundation, Inc. (“WESPAC”) (collectively, the “Hamas supporters”) — are obligated

to register under the Foreign Agents Registration Act. 22 U.S.C. §§ 611–12; Compl.

¶¶ 1, 4, 7, 20–27, 35–60, 63, ECF No. 2. The government also knows that America

First Legal Foundation has a statutory right to review and obtain their registration

statements. 22 U.S.C. § 616; Compl. ¶¶ 25, 64–66. Nevertheless, disregarding

statutory text and controlling authorities, the government challenges America First

Legal’s standing and claims absolute discretion to ignore their conduct.

      This is not a generalized non-enforcement case. Compare United States v.

Texas, 599 U.S. 670, 681–82 (2023). America First Legal has suffered concrete

informational harm from the government’s specific choice to under-enforce as to the

Hamas supporters, and the Administrative Procedure Act explicitly authorizes the

Judiciary to enter appropriate orders that will redress this harm. 22 U.S.C. § 618(f);

5 U.S.C. § 706(1); Texas, 599 U.S. at 682. Furthermore, the facts of this case arguably

establish the “extreme case of non-enforcement” that supports Article III standing.

Id. at 682–83; see also Heckler v. Cheney, 470 U.S. 821, 833 n.4 (1985). The

government’s claim that America First Legal asks the Court to order the Department

of Justice to “root out every instance in which an individual has failed to register,”

Ds.’ Mem. Supp. Mot. Dismiss Pl’s Compl. (“Ds.’ MTD”) 18, ECF No. 6, is inaccurate.



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Rather, on the facts of this case, America First Legal asks the Court to order the

government to comply with the Act and seek the Hamas supporters’ registration.

Compl., Prayer for Relief ¶¶ A–B. 1

      America First Legal has standing in this case, and the government has a non-

discretionary legal duty to seek the Hamas supporters’ registration under the Foreign

Agents Registration Act. Therefore, the government’s motions should be denied.

Alternatively, America First Legal should be granted leave to conduct limited,

expedited jurisdictional discovery to determine whether the government’s conduct in

this case is justiciable. See Texas, 599 U.S. at 683.


                             STANDARD OF REVIEW

      When ruling on the government’s Rule 12(b)(1) motion to dismiss for lack of

jurisdiction, the Court must treat America First Legal’s factual allegations as true

and afford it the benefit of all inferences that can be derived from the facts alleged.

Marino v. Nat’l Oceanic & Atmospheric Admin., 451 F. Supp. 3d 55, 59 (D.D.C. 2020),

aff’d, 33 F.4th 593 (D.C. Cir. 2022). The Court may also consider materials outside

the pleadings. Jerome Stevens Pharms., Inc. v. Food & Drug Admin., 402 F.3d 1249,

1253 (D.C. Cir. 2005).

      When ruling on the government’s Rule 12(b)(6) motion for failure to state a

claim, the Court must allow the claim “to continue past this stage of proceedings” if


1 Accord Texas, 599 U.S. at 683. The Court pointed out that detention policies of

“noncitizens who have already been arrested might raise a different standing
question than arrest or prosecution policies.” The government already knows that the
Hamas supporters have a duty to register as foreign agents. Therefore, this matter is
more analogous to a “detention” case than an “arrest or prosecution policy” case.


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the factual allegations “raise a right to relief above the speculative level.” Ali v. D.C.

Gov’t, 697 F. Supp. 2d 88, 92 (D.D.C. 2010); Am. Fed’n of State, Cnty., Mun. Emps.

Loc. 2401 v. D.C., 796 F. Supp. 2d 136, 139, 142 (D.D.C. 2011). A complaint must only

contain sufficient facts that, accepted as true, would allow the court “to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Am.

Fed’n of State, Cnty., Mun. Emps. Loc. 2401, 796 F. Supp. 2d at 139 (quoting Ashcroft

v. Iqbal, 556 U.S. 662, 663 (2009)).

        Because this is an Administrative Procedure Act case, the Court should review

the entire case as a matter of law. E. Band of Cherokee Indians v. United States Dep’t

of the Interior, 534 F. Supp. 3d 86, 97 (D.D.C 2021). Ordinarily, the court reviews the

administrative record; however, courts may turn to extra-record evidence where, as

here, an agency is sued under section 706(1) for failure to act “because there is no

final agency action to demarcate the limits of the record.” Democracy Forward Found.

v. Pompeo, 474 F. Supp. 3d 138, 148 (D.D.C. 2020) (quoting Nat’l L. Ctr. On

Homelessness & Poverty v. U.S. Dep’t of Veterans Affs., 842 F. Supp. 2d 127, 130

(D.D.C. 2012)).


                                       ARGUMENT

   I.      America First Legal Has Standing

        America First Legal, “like an individual plaintiff,” has standing if it “shows

actual or threatened injury in fact that is fairly traceable to the alleged illegal action

and likely to be redressed by a favorable court decision.” People for the Ethical

Treatment of Animals v. Dep’t of Agric. (“PETA”), 797 F.3d 1087, 1093 (D.C. Cir. 2015)



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(cleaned   up).   “A   plaintiff   suffers   sufficiently   concrete   and   particularized

informational injury where the plaintiff alleges that: (1) it has been deprived of

information that, on its interpretation, a statute requires the government or a third

party to disclose to it, and (2) it suffers, by being denied access to that information,

the type of harm Congress sought to prevent by requiring disclosure.” Friends of

Animals v. Jewell, 828 F.3d 989, 992 (D.C. Cir. 2016).

      America First Legal must show the legal ruling it seeks — that the government

must seek the Hamas supporters’ registration and related filings and then publicly

disclose them — might lead to additional factual information that Congress requires

the government to make public. See Campaign Legal Ctr. v. Fed. Election Comm’n,

31 F.4th 781, 788 (D.C. Cir. 2022); see also Fed. Election Comm’n v. Akins, 524

U.S. 11, 21 (1998); Pub. Citizen v. Department of Justice, 491 U.S. 440, 449 (1989).

“[I]n assessing plaintiffs’ standing, we must assume they will prevail on the merits of

their [legal] claims.” LaRoque v. Holder, 650 F.3d 777, 785 (D.C. Cir. 2011).

      The Foreign Agents Registration Act was enacted so that “the people of the

United States may be informed of the identity of [foreign agents] and may appraise

their statements and actions in the light of their associations and activities.” Meese

v. Keene, 481 U.S. 465, 469 (1987) (quoting Foreign Agents Registration Act of 1938,

as amended, Pub. L. No. 77-532, 56 Stat. 248–49 (1942)). Congress enacted the

Foreign Agent Registration Act “to reduce the influence of foreign propaganda

circulating in the United States,” and it “[a]nticipat[ed]] that greater transparency

could help achieve these ends.” WHITNEY K. NOVAK, CONG. RSCH. SERV., IFI1439,




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FOREIGN AGENTS REGISTRATION ACT (FARA): A LEGAL OVERVIEW 1 (2023). Similarly,

one of the reasons Congress adopted the Administrative Procedure Act was so that

Congress could rely on outside organizations like America First Legal to obtain

information from government agencies as part of Congress’s constitutional oversight

function. Mathew D. McCubbins & Thomas Schwartz, Congressional Oversight

Overlooked: Police Patrols Versus Fire Alarms, 28 AM. J. POL. SCI. 168–169 (1984)

(describing Congress as using administrative procedures to delegate oversight

responsibilities to regulated parties); McNollGast, Administrative Procedures as

Instrument of Political Control, 3 J. L. ECON. & ORG. 254 (1987) (same); DANIEL Z.

EPSTEIN, THE INVESTIGATIVE STATE: REGULATORY OVERSIGHT IN THE UNITED STATES

(2023) (providing empirical evidence that Congress’s capacity to conduct oversight

depends upon regulated parties reporting violations of administrative procedures).

Obviously, if agents of foreign principals fail or refuse to register, and the

government, knowing that registration and disclosure are required, stands idly by,

then there is nothing to disclose, and the public is deprived of the information

Congress intended them to have.

      The Hamas supporters’ Foreign Agents Registration Act information is directly

related both to America First Legal’s public education mission in support of policies

aimed at protecting our nation’s sovereignty, borders, economic security, and

Constitution, and to its core public education mission of disclosing relevant

information regarding the operation of the government to support the rule of law.

Compl. ¶¶ 5–6, 10, 15. As the courts have repeatedly said when upholding similar




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claims of informational injury, “there ‘is no reason to doubt their claim that the

information would help [the plaintiff].’” Ethyl Corp. v. EPA, 306 F.3d 1144, 1148 (D.C.

Cir. 2002) (quoting Akins, 524 U.S. at 21). The government’s failure to act as required

by law “den[ies] [America First Legal] access to information and avenues of redress

they wish to use in their routine information-dispensing [and advocacy] activities.”

Action All. of Senior Citizens of Greater Philadelphia v. Heckler, 789 F.2d 931, 937–

38 (D.C. Cir. 1986). Accordingly, the government has inflicted “the type of harm

Congress sought to prevent by requiring disclosure.” Friends of Animals, 828 F.3d

at 992.

      A long line of analogous precedents under similar disclosure statutes supports

America First Legal’s standing. See Pub. Citizen, 491 U.S. at 449 (“[R]efusal to permit

appellants to scrutinize [a] Committee’s activities to the extent FACA allows

constitutes a sufficiently distinct injury to provide standing to sue.”); Akins, 524 U.S.

at 21 (A plaintiff “suffers an ‘injury in fact’ when the plaintiff fails to obtain

information which must be publicly disclosed pursuant to a statute.”); VoteVets Action

Fund v. Dep’t of Veterans Affs., 992 F.3d 1097, 1103 (D.C. Cir. 2021) (“VoteVets claims

an informational injury under FACA by pleading that the Council and VA failed to

comply with the statute’s disclosure and transparency requirements.”); PETA, 797

F.3d at 1095 (“Because PETA’s alleged injuries — denial of access to bird-related

AWA information . . . — are concrete and specific to the work in which they are

engaged, we find that PETA has alleged a cognizable injury sufficient to support

standing.”) (cleaned up); Am. Soc. for Prevention of Cruelty to Animals v. Feld Ent.,




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Inc., 659 F.3d 13, 23 (D.C. Cir. 2011) (“For purposes of informational standing, a

plaintiff is injured-in-fact because he did not get what the statute entitled him to

receive.”) (cleaned up); Jud. Watch, Inc. v. Dep’t of Com., 583 F.3d 871, 873 (D.C. Cir.

2009) (“In the context of a FACA claim, an agency’s refusal to disclose information

that the act requires be revealed constitutes a sufficient injury.”); Byrd v. EPA, 174

F.3d 239, 243 (D.C. Cir. 1999) (“[A] refusal to provide information to which one is

entitled under FACA constitutes a cognizable injury sufficient to establish Article III

standing.”).

      The government claims that America First Legal lacks informational standing

because the Hamas supporters have chosen not to comply with the Act, rendering

America First Legal’s suit essentially a generalized grievance shared by the public,

and its harm neither traceable nor redressable. Ds.’ MTD 11–14 (citations omitted).

But “that other citizens or groups of citizens might make the same complaint after

unsuccessfully demanding disclosure under does not lessen [America First Legal’s]

asserted injury, any more than the fact that numerous citizens might request the

same information under the Freedom of Information Act entails that those who have

been denied access do not possess a sufficient basis to sue.” Pub. Citizen, 491 U.S. at

449–50; see Akins, 524 U.S. at 24–25 (same); see also PETA, 797 F.3d at 1093 (“The

United States Supreme Court has made plain that a ‘concrete and demonstrable

injury to an organization’s activities — with the consequent drain on the

organization’s resources — constitutes far more than simply a setback to the

organization’s abstract social interests’ and thus suffices for standing.”) (cleaned up)




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(quoting Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982)). Furthermore,

America First Legal’s informational injury easily satisfies the zone of interest

requirement. Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak,

567 U.S. 209, 224–25 (2012) (quoting Clarke v. Secs. Indus. Assn., 479 U.S. 388, 399

(1987).

         Nor does the America First Legal’s standing depend on any possibility that

“the [government] might reach the same result exercising its discretionary powers

lawfully” (though no such possibility exists here, as explained in Part II.B, infra).

Akins, 524 U.S. at 25. Agencies often have discretion about taking a particular action,

yet those adversely affected by a discretionary agency decision generally have

standing to complain that the agency based its decision upon improper legal grounds.

See, e.g., Abbott Laboratories v. Gardner, 387 U.S. 136, 140 (1967); see also Citizens

to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 410 (1971). Thus, America First

Legal’s “injury in fact,” is “fairly traceable” to the government’s decision not to seek

Foreign Agents Registration Act compliance from the Hamas supporters. Accord

Akins, 524 U.S. at 25.

   II.      The Government’s Failure to Act Is Judicially Reviewable

         The Hamas supporters are obligated to register as agents of foreign principals

and to properly label and file all political propaganda or “informational materials”

they have transmitted on their behalf. 22 U.S.C. §§ 612(a), 614. The government has

chosen not to seek their compliance and harmed America First Legal. The

government’s decision not to seek their registration and, by necessary implication,




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withhold it from public review, is reviewable agency action. Norton v. S. Utah

Wilderness All., 542 U.S. 55, 62 (2004); 5 U.S.C. § 704. The government’s decision not

to secure the Hamas supporters’ registration helps them but harms the public

generally and America First Legal specifically. Bennett v. Spear, 520 U.S. 154, 177–

78 (1997); U.S. Army Corps of Engrs. v. Hawkes Co., 578 U.S. 590, 597 (2016).

      The Administrative Procedure Act establishes a basic presumption of judicial

review for one suffering legal wrong because of agency action. DHS v. Regents of the

Univ. of Cal., 140 S. Ct. 1891, 1905 (2020) (cleaned up). This presumption controls

here because the Foreign Agents Registration Act does not preclude review, nor does

it commit to the government’s discretion its duty to seek the Hamas supporters’

registration and then disclose it to America First Legal and the public. On the facts

of this case, America First Legal is entitled to judicial review, and the Court should

deny the government’s motions.

      A.     This Case Exceeds the Bounds of Enforcement Discretion

      The government argues jurisdiction is lacking because this case involves the

Department of Justice’s decision not to ask the Hamas supporters to comply with the

Foreign Agents Registration Act, although it had actual knowledge that they were

violating statutory requirements. Compl. ¶¶ 4, 7, 20–27, 35–60, 63; Ds.’ MTD 15.

      In Heckler, the Supreme Court noted that agency enforcement decisions

“ha[ve] traditionally been ‘committed to agency discretion,’” and concluded that

Congress did not intend to alter that tradition in enacting the Administrative

Procedure Act. 470 U.S. at 832; 5 U.S.C. § 701(a) (courts will not review agency




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actions where “statutes preclude judicial review,” or where the “agency action is

committed to agency discretion by law”). But as the Court recently affirmed, “we do

not suggest that federal courts may never entertain cases involving the Executive

Branch’s alleged failure to make more arrests or bring more prosecutions,” much less

the action requested by America First Legal here. Texas, 599 U.S. at 681; see also

Akins, 524 U.S. at 26. For example, courts have jurisdiction over suits in cases of

extreme non-enforcement that arguably “exceed the bounds of enforcement

discretion.” Texas, 599 U.S. at 683. Also, courts have jurisdiction over challenges

involving non-prosecution and the conferral of legal benefits or legal status. Id. And,

courts have jurisdiction in cases where a statute “explicitly indicates” suits are

authorized by plaintiffs harmed by under-enforcement. Akins, 524 U.S. at 26; Texas,

599 U.S. at 682.

      B.     Congress Did Not Confer Absolute Discretion

      The Administrative Procedure Act authorizes the Court to “compel agency

action unlawfully withheld or unreasonably delayed.” 5 U.S.C. § 706(1); Norton, 542

U.S. at 64. While courts generally do not review the exercise of enforcement discretion

committed to agencies, it is well established that a section 706(1) claim proceeds if

the “plaintiff asserts that an agency failed to take a discrete agency action that it is

required to take.” Norton, 542 U.S. at 64.

      The Department of Justice asked the public “[i]f you believe an individual or

entity is violating [the Foreign Agents Registration Act] or has an obligation to

register, please contact the FARA unit.” DEP’T JUST., FARA Enforcement (updated




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Mar. 15, 2023), https://perma.cc/Q66Z-MCQH. America First Legal did this on August

16, 2024. However, the government has chosen not to act. There are two possible

explanations for this. The first is that the government received America First Legal’s

complaint, reviewed it, and determined that the Hamas supporters were not required

to register as agents of a foreign principal. For the reasons explained above, such a

determination would be contrary to 5 U.S.C. § 706(2)(A), (C). The second is that the

government determined that the Hamas supporters were required to register but

decided to do nothing. Such a determination would be contrary to 5 U.S.C. § 706(1).

      The Foreign Agents Registration Act is a disclosure statute that requires the

government to obtain foreign agent registration information by certain means and to

publish the information for the public’s benefit. Compl. ¶¶ 18–23, 25–27; 22 U.S.C.

§§ 616, 618, 620–21; see Meese, 481 U.S. at 469. If the statute indicates “an intent to

circumscribe agency enforcement discretion” and “has provided meaningful

standards for defining the limits of that discretion,” the Court “may require that the

agency follow that law.” Heckler, 470 U.S. at 834–35. The Foreign Agents

Registration Act leaves the government with far less freedom than a prosecutor with

the “exclusive authority and absolute discretion to decide whether to prosecute a

case.” United States v. Nixon, 418 U.S. 683, 693 (1974).

      The “purpose of the Act was disclosure rather than prohibition.” Att’y Gen. of

U.S. v. Irish People, Inc., 684 F.2d 928, 939 (D.C. Cir. 1982); see 22 U.S.C. § 612, 614,

616, 621. A person may act as an agent of a foreign principal, but he may only do so

if he files a registration statement or is exempt from registration. 22 U.S.C. § 612(a).




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This registration requirement would be entirely toothless if the government’s duty to

ensure compliance was committed to discretion rather than ministerial in nature. To

ensure that foreign agent registration information would be disclosed, Congress

provided the Attorney General with criminal, civil injunctive, and administrative

levers under sections 618(a), (f), and (g).

      The Foreign Agents Registration Act’s plain text, statutory context, and

purpose demonstrate that seeking the Hamas supporter’s registration and publishing

it for the public to see are discrete agency actions that the government is required to

take. Section 618 “clearly reins in the agency’s discretion,” so that the government’s

failure to follow it triggers section 706(1) review. Meina Xie v. Kerry, 780 F.3d 405,

408 (D.C. Cir. 2015). These subsections cabin the government’s discretion and thereby

ensure that the statute’s fundamental purpose — public disclosure — is advanced

and served.

      Section 618(f) provides in relevant part:

      [W]henever any agent of a foreign principal fails to comply with any of
      the provisions of this subchapter or the regulations issued thereunder,
      or otherwise is in violation of the subchapter, the Attorney General may
      make application to the appropriate United States district court for an
      order enjoining such acts or enjoining such person from continuing to
      act as an agent of such foreign principal, or for an order requiring
      compliance with any appropriate provision of the subchapter or
      regulation thereunder.

22 U.S.C. § 618(f). The word “may” usually implies some degree of discretion. 2



2 This common-sense principle of statutory construction is by no means invariable

and can be defeated by indications of legislative intent to the contrary or by obvious
inferences from the structure and purpose of the statute. United States v. Rodgers,
461 U.S. 677, 706 (1983) (Brennan, J.); Sierra Club v. Jackson, 648 F.3d 848, 856


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However, text, structure, and purpose make it clear the word “may” only authorizes

the government to choose between an order enjoining “such acts” or an order

enjoining a person from continuing to act as an agent of a foreign principal, or a

compliance order. “When a statute limits a thing to be done in a particular mode, it

includes a negative of any other mode.” Christensen v. Harris County, 529 U.S. 576,

583 (2000) (cleaned up). Doing nothing is not one of the choices. See A. SCALIA & B.

GARNER, READING LAW: THE INTERPRETATION OF LEGAL TEXTS 107–11 (2012)

(explaining that under the negative-implication canon, “specification of the one

implies the exclusion of the other”).

      Alternatively, section 618(g) provides that if an agent of a foreign principal

files a deficient registration statement, then the Attorney General “shall” notify that

person in writing and specify the deficiencies. By using “shall” in this subsection,

Congress imposed a discrete obligation on the government. See Fed. Exp. Corp. v.

Holowecki, 552 U.S. 389, 400 (2008); Lexecon v. Milberg Weiss Bershad Hynes &

Lerach, 523 U.S. 26, 35 (1998); Gutierrez de Martinez v. Lamagno, 515 U.S. 417, 434

n.9 (1995). Of course, section 618(g) does not expressly require the government to

notify the Hamas supporters of their obligation to file a registration statement. Read

literally, this subsection applies to filed but incomplete or inaccurate registration

statements and filings. However, fidelity to the text requires situating “text in

context.” Biden v. Nebraska, 143 S. Ct. 2355, 2378 (2023) (Barrett, J., concurring); see




(D.C. Cir. 2011); Galvin v. Del Toro, 586 F. Supp. 3d 1, 14 (D.D.C. 2022); see also
“Verb forms,” 3 SUTHERLAND STATUTORY CONSTRUCTION § 57:10 (8th ed.).


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also SCALIA & GARNER, supra at 63. Given the statute’s structure and purpose, the

better reading is that the failure to register is also a deficiency subject to the notice

provision.

      The Foreign Agents Registration Act was enacted to protect the public’s

compelling informational interest in knowing how and where agents of foreign

principals are at work in the body politic. Congress mandated broad disclosure and

charged the government with the duty of gathering, cataloging, and publishing the

specified information. The fact that these individuals and organizations are or have

been agents of a foreign terrorist organization would seem to be precisely the sort of

information Congress intended the government to disclose. But if the government,

knowing that these persons are agents of foreign principals, has the discretion to do

nothing, then it can, on a case-by-case basis, disrupt the statutory scheme and

torpedo the public’s right to know.

      The government asks this court to construe the Foreign Agents Registration

Act without regard for the statutory context, structure, and purpose. See Yates v.

United States, 574 U.S. 528, 538 (2015). Section 618(g) unmistakably requires the

government to notify a registrant in writing if his registration statement is deficient.

Yet the government demands that the statute be read to require nothing at all when

the Department of Justice knows that a person is acting as a foreign agent without

registration. The government latches onto the word “may” in section 618(f) as

conferring absolute, unreviewable discretion, i.e., it may ask the court for an order

enjoining such acts, it may ask the court for an order requiring compliance with the




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law, or it may do nothing.

      The absurdity canon militates against construing the Foreign Agents

Registration Act, which was enacted to provide the public with comprehensive

information about the identities and activities of agents of foreign principals, see 22

U.S.C. §§ 612, 614, 616, to delegate the government absolute, unreviewable discretion

to do nothing in this case. See Pub. Citizen, 491 U.S. at 455; Eagle Pharms., Inc. v.

Azar, 952 F.3d 323, 332–33 (D.C. Cir. 2020) (Although “literal interpretation need not

rise to the level of ‘absurdity’ . . . there must be evidence that Congress meant

something other than what it literally said before a court can depart from plain

meaning.”); Mova Pharm. Corp. v. Shalala, 140 F.3d 1060, 1068 (D.C. Cir. 1998) (“In

deciding whether a result is absurd, the Court should consider not only whether that

result is contrary to common sense, but also whether it is inconsistent with the clear

intentions of the statute’s drafters — that is, whether the result is absurd when

considered in the particular statutory context.”) (citations omitted); SCALIA &

GARNER, supra at 235 (“What the rule of absurdity seeks to do is what all rules of

interpretation seek to do: make sense of the text.”). Again, the government’s discretion

to prosecute (or not) the Hamas supporters under section 618(a) is unreviewable. But

Congress could not have intended to give them the discretion to look away from

known agents of a foreign principal, fail or refuse to seek a section 612 registration

statement, and then violate the public’s informational rights guaranteed by section

616, for any reason or no reason. Such a holding would irrationally eviscerate the

statutory scheme, and Congress could not have intended it.




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      Under the government’s absurd interpretation, Congress assigned it a

mandatory duty to act when a person files an inadvertently deficient registration, but

no duty at all against a person (such as the Hamas supporters) whom it knows to

have intentionally evaded his registration requirements. Simply put, if section 618(f)

does not mandate the government’s action here, then section 618(g) must. Otherwise,

the Foreign Agents Registration Act, which in the government’s words, “helps protect

the integrity of American democracy by combating covert foreign government

influence in our political process,” see U.S. DEPT. OF JUSTICE, Protecting the United

States from Covert Foreign Influence, https://perma.cc/5DSW-3JLA, ceases to

function.

      The government complains that America First Legal demands that the

government “root out every instance in which an individual has failed to register.”

Ds.’ MTD 18. This is inaccurate. Rather, America First Legal has pled that the

government solicits reports of Foreign Agents Registration Act violations from the

public and that it reported the Hamas supporters’ violations on August 16, 2024.

Compl. ¶ 7. America First Legal’s complaint is not about “rooting out” compliance

violations generally — it is about the government’s failure to act in this case.

Congress has exempted from registration: “‘Diplomatic or consular officers’; ‘Official

of foreign government’; ‘Staff members of diplomatic or consular officers’; ‘Private and

nonpolitical activities; solicitation of funds’; ‘Religious, scholastic, or scientific

pursuits’; ‘Defense of foreign government vital to United States defense’; and ‘Person

qualified to practice law.’” Irish People, 684 F.2d at 938 (quoting 22 U.S.C. § 613). For




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all others, exemption must be “by regulation” under “the criteria” described in the

statute. Irish People, 684 F.2d at 937–38 (citing 22 U.S.C. § 612(f)). The government

has not exempted these Hamas supporters, or persons like them, from registration.

       C.      The Government Has Consented to Administrative Review

       Even if the government’s inaction were unreviewable under the statute, the

Department of Justice has acted in accordance with a host of statutory procedures

and affirmatively issued guidance for which administrative procedures apply.

       First, the Department has consented via the Paperwork Reduction Act, 44

U.S.C. § 3501 et seq., which creates rules and procedures that bind the government’s

collection of information from the public. For instance, the Department uses OMB-

approved forms for the foreign agent registration statement. See, e.g., DEP’T JUST.,

Exhibit A to Registration Statement Pursuant to the Foreign Agents Registration Act

of 1938, as Amended, OMB No. 1124-0006 (2023), https://perma.cc/9YVG-9RLV;

DEP’T JUST., Short Form Registration Statement Pursuant to the Foreign Agents

Registration    Act    of   1938,   as   Amended,   OMB    No.    1124-0005   (2020),

https://perma.cc/PL4X-H792. The Department also decided to collect information

from the public through a “Report a Violation” notice on its website. DEP’T JUST.,

FARA Enforcement (updated Mar. 15, 2023), https://perma.cc/Q66Z-MCQH. As such,

the Department collects information from the public in ways that Congress regulates.

Nothing requires the Department to do so; but in choosing to, it is bound by the law.

An administrative record would reveal that America First Legal relied on this notice

to, in fact, report a violation.




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      Second, the Department has issued regulations to provide guidance to

regulated entities about their need to comply with the Foreign Agents Registration

Act. See 28 C.F.R. § 5.2 (“Inquiries concerning application of the Act”). Under this

regulation, any present or prospective foreign agent “may request from the Assistant

Attorney General for National Security a statement of the present enforcement

intentions of the Department of Justice under the Act.” 28 C.F.R. § 5.2(a). Nothing in

the text of the Foreign Agents Registration Act requires the Department to issue

advisory opinions. But that it chooses to do so binds it to administrative

requirements.

      Congress imposed ministerial, non-discretionary administrative duties on the

Attorney General and the Department of Justice concerning the registration of known

foreign agents, and the publication of foreign agent registration information to the

American people. Moreover, the Department consented to administrative review

through its administrative actions. They know that the Hamas supporters should

register but failed to merely ask them to do so, contrary to law. Accordingly, this

Court has jurisdiction.

   III.   The Government’s Motion to Excuse Compliance with Local Civil
          Rule 7(n) Should Be Denied

      The government has moved to excuse compliance with Local Civil Rule 7(n)

because it has absolute discretion with respect to the Hamas supporters’ Foreign

Agents Registration Act compliance. D’s Mot. Excuse Compliance LCvR 7(n) at 4,

ECF No. 5. But this is not the case. To begin with, the Department of Justice’s

statutory discretion is limited by plain text and statutory context and purpose. Part



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II.B, supra. Even if the Court agrees that the government’s discretion is broader than

America First Legal’s construction of the Foreign Agents Registration Act allows, the

Supreme Court has held that extreme cases of non-enforcement (among others) may

be justiciable. Texas, 599 U.S. at 683; Heckler, 470 U.S. at 833 n.4, 839. This is not a

generalized “failure to enforce” case. Rather, this a case where the government had

actual and specific knowledge that the Hamas supporters were obligated to register

as agents of foreign principals but chose to do nothing. The Hamas supporters did not

file a registration statement and America First Legal suffered informational injury

as a result. Accord Akins, 524 U.S. at 21. Here, the facts and the record must be

considered to decide the underlying legal question.

      The government also engaged in policies or practices beyond the plain text of

the statute. As such, it is bound by such practices; America First Legal relied on such

practices to submit information; America First Legal has been uniquely deprived of

an available administrative record; and that record is reviewable. Compl. ¶¶ 7, 28,

63, 66.

      The government has not contested the factual allegations supporting America

First Legal’s Complaint, so for the purpose of resolving its Motion to Dismiss, the

Court should assume that the Department of Justice knew that the Hamas

supporters were agents of (at a minimum) Hamas, the Palestinian Authority, the

Palestine Liberation Organization, and Islamic Jihad — yet failed to act. These facts,

if not facially dispositive under 5 U.S.C. § 706(1), at least suggest that jurisdictional

discovery is needed to determine whether this case is among those that the Court




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may entertain. Texas, 599 U.S. at 681 (“we do not suggest that federal courts may

never entertain cases involving the Executive Branch’s alleged failure to make more

arrests or bring more prosecutions”); Heckler, 470 U.S. at 834–35.

   IV.      America First Legal Should Be Granted Jurisdictional Discovery

         Given the government’s knowledge of the Hamas supporters’ actions on behalf

of Hamas, the Palestinian Authority, the Palestine Liberation Organization, Islamic

Jihad, and other similar “Palestinian” organizations or persons, its failure to seek

registration arguably constitutes the sort of extreme non-enforcement that “exceeds

the bounds of enforcement discretion.” Compl. ¶¶ 35–60; Texas, 599 U.S. at 683.

Alternatively, the government’s failure to seek their registration at least raises a

justiciable question regarding its enforcement policy and whether the groups and

individuals were the beneficiary of legal benefits or given a unique legal status.

Certainly, the government’s conduct in the face of the very strong evidence of their

Foreign Agents Registration Act violations raises significant questions.

         This Court has broad discretion in its resolution of jurisdictional discovery

problems, and the standard for permitting jurisdictional discovery is quite liberal.

Diamond Chem. Co., Inc. v. Atofina Chems., Inc., 268 F. Supp. 2d 1, 15 (D.D.C. 2003).

The D.C. Circuit has stated that “if a party demonstrates that it can supplement its

jurisdictional allegations through discovery, then jurisdictional discovery is justified.”

GTE New Media Servs., Inc. v. BellSouth Corp., 199 F.3d 1343, 1351 (D.C. Cir. 2000).

“The district court retains considerable latitude in devising the procedures it will

follow to ferret out the facts pertinent to jurisdiction,” but, “[i]n order to avoid




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burdening a sovereign that proves to be immune from suit . . . jurisdictional discovery

should be carefully controlled and limited.” Phoenix Consulting Inc. v. Republic of

Angola, 216 F.3d 36, 40 (D.C. Cir. 2000) (citations omitted) (quoting Prakash v. Am.

Univ., 727 F.2d 1174, 1179–80 (D.C. Cir. 1984) (internal quotation marks omitted)).

At least in the Federal Tort Claims Act context, in fact, the D.C. Circuit has

“recognized that where ‘facts [are] necessary to establish jurisdiction,’ plaintiffs must

be afforded the ‘opportunity for discovery of [such] facts . . . prior to’ the granting of a

motion to dismiss for lack of subject matter jurisdiction.” Loughlin v. United States,

393 F.3d 155, 167 (D.C. Cir. 2004) (alterations in original) (emphasis added) (citing

Ignatiev v. United States, 238 F.3d 464, 467 (D.C. Cir. 2001); see generally Wesberry

v. United States, 205 F. Supp. 3d 120, 135–36 (D.D.C. 2016).

        Facially, at least, the government’s failure to seek the Hamas supporters’

registration seems like an extreme case of non-enforcement. Compl. ¶¶ 35–60. If the

Court is unwilling to rule that the government must comply with Local Civil Rule

7(n), then America First Legal respectfully requests the opportunity for jurisdictional

discovery to determine why the government chose not to seek the Hamas supporters’

registration as foreign agents. There is very significant evidence suggesting that the

Department’s     treatment    of   the   Hamas     supporters    was    colored        improper

considerations or bias. See, e.g., America First Legal Demands Investigation in the

DOJ’s     Failure     to   Prosecute     Pro-Hamas       Violence      (Jan.      5,     2024),

https://perma.cc/HV8T-BLY5. Limited discovery consisting of ten interrogatories and

document requests (including subparts) and three depositions should be sufficient to




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determine whether the government engaged in the sort of conduct that the Supreme

Court has declared justiciable.


                                  CONCLUSION

      For the foregoing reasons, the Court should DENY the government’s Motions

to Dismiss and to Excuse Compliance with Local Civil Rule 7(n). Alternatively, the

Court should GRANT America First Legal’s request for jurisdictional discovery.

Dated: January 21, 2025               Respectfully submitted,

                                      /s/ Michael Ding
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                              CERTIFICATE OF SERVICE

       I hereby certify that on January 21, 2025, I filed the foregoing with the Clerk

of the Court electronically via the Court’s ECF system which sent notification of such

filing to counsel of record for all parties.


                                          /s/ Michael Ding
                                          AMERICA FIRST LEGAL FOUNDATION




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